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                               UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF MICHIGAN
                                    SOUTHERN DIVISION

ROBERT CARLSON, Personal
Representative of the Estate of Craig Carlson,
                                                             Case No. 1:08-cv-991
                Plaintiff,
v.                                                           HONORABLE PAUL L. MALONEY

SCOTT FEWINS, et al.,

            Defendant.
_____________________________________/

                             AMENDED CASE MANAGEMENT ORDER

        IT IS HEREBY ORDERED:

 Trial Date and Time                                                                  AUGUST 7, 2018
                                                                                           8:45 a.m.

 Before:     Judge Paul L. Maloney                                                 174 Federal Building
                                                                                 410 W. Michigan Ave.
                                                                                  Kalamazoo, Michigan
 Jury or Non Jury                                                                                   Jury
 Estimated Length of Trial                                                                        9 days
 Settlement Conference                                                                 None at this time
 Final Pretrial Conference                                     Date:                     JULY 23, 2018
 Before Judge Paul L. Maloney                                  Time:                         9:00 a.m.
 ADR To Take Place On Or Before:                                                        APRIL 30, 2018

1.      TRIAL DATE AND SETTING: This case is scheduled for trial before the Honorable Paul L.
        Maloney, 174 Federal Building, 410 W. Michigan Ave., Kalamazoo, Michigan, as set forth above.

2.      MOTIONS:

        a.      Non-dispositive motions shall be filed in accordance with W.D. Mich. LcivR. 7.3. They will
                be referred to a Magistrate Judge pursuant to 28 U.S.C. § 636(b)(1)(A). In accordance with
                28 U.S.C. § 471, et seq., it is the policy of this Court to prohibit the consideration of
                discovery motions unless accompanied by a certification that the moving party has made a
                reasonable and good faith effort to reach agreement with opposing counsel on the matters
                set forth in the motion.
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        b.       The deadline to file dispositive motions has passed.

        c.       The parties are strongly encouraged to file motions in limine at least fourteen (14) calendar
                 days prior to the final pretrial conference, but in no event shall they be filed later than the
                 date for the submission of the proposed Final Pretrial Order.

3.      ALTERNATIVE DISPUTE RESOLUTION: In the interest of facilitating prompt resolution of this
        case, and the parties having voluntarily selected facilitative mediation, this matter shall be submitted
        to facilitative mediation. The parties have fourteen (14) days from the date of this Order to jointly
        choose one mediator from the list of court certified mediators.1 Plaintiff is responsible for e-filing
        notification of the name of the selected mediator. If the parties are unable to jointly select a
        mediator, they must notify the ADR Administrator2, who will select a mediator for them. Once the
        mediator is selected, a Notice will issue regarding the method and schedule for the mediation
        conference.

4.      SETTLEMENT CONFERENCE: The parties are under an ongoing obligation to engage in good
        faith settlement negotiations. No settlement conference has been scheduled at this time.

5.      FINAL PRETRIAL CONFERENCE: A final pretrial conference is scheduled at the date and time
        set forth above.

6.      PREPARATION OF PROPOSED FINAL PRETRIAL ORDER: A proposed pretrial order, entitled
        “Final Pretrial Order” shall be prepared jointly by counsel and filed seven (7) days prior to the final
        pretrial conference in the following form:

                 A final pretrial conference was held on the ___ day of ______________. Appearing for the
                 parties as counsel were:

                         (List the counsel who will attend the pretrial conference.)

                 1.      Exhibits: The following exhibits will be offered by the plaintiff and the defendant:

                         (List separately for each party all exhibits, including demonstrative evidence and
                         summaries of other evidence, by name and number. Plaintiff shall use numbers;
                         defendant shall use letters. Indicate with respect to each exhibit whether and for
                         what reason its admissibility is challenged. Exhibits expected to be used solely for
                         impeachment purposes need not be numbered or listed until identified at trial.
                         Failure to list an exhibit required to be listed by this order will result, except upon
                         a showing of good cause, in a determination of non-admissibility at trial. Objections
                         not contained in the Pretrial Order, other than objections under Evidence Rule 402




        1
             Www.miwd.uscourts.gov
        2
        ADR Administrator, U.S. District Court, 399 Federal Building, 110 Michigan St., NW,
Grand Rapids, MI 49503; 616/456-2381; adr@miwd.uscourts.gov

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               or 403, shall be deemed waived except for good cause shown. See Fed. R. Civ. P.
               26(a)(3)(B).)

         2.    Uncontroverted Facts: The parties have agreed that the following may be accepted
               as established facts:

               (State in detail all uncontroverted facts.)

         3.    Controverted Facts and Unresolved Issues: The factual issues remaining to be
               determined and issues of law for the Court’s determination are:

               (Set out each issue which is genuinely controverted, including issues on the merits
               and other matters which should be drawn to the Court’s attention.)

         4.    Witnesses:

               A.      Non-expert witnesses to be called by the plaintiff and defendant, except
                       those who may be called for impeachment purposes only, are:

                       (List names, addresses, and telephone numbers of all non-experts who will
                       testify. Indicate whether they are expected to testify in person, by
                       deposition videotape, or by reading of their deposition transcript. Indicate
                       all objections to the anticipated testimony of each non-expert witness. For
                       each witness listed, indicate whether the witness will be called or merely
                       may be called to testify.)

               B.      Expert witnesses to be called by the plaintiff and defendant, except those
                       who may be called for impeachment purposes only, are:

                       (List names, addresses, and telephone numbers of all experts who will
                       testify, providing a brief summary of their qualifications and a statement of
                       the scientific or medical field(s) in which they are offered as experts.
                       Indicate whether they will testify in person, by deposition videotape, or by
                       reading of their deposition transcript. Indicate all objections to the
                       qualifications or anticipated testimony of each expert witness.)

                       It is understood that, except upon a showing of good cause, no witness
                       whose name and address does not appear in the lists required by
                       subsections (a) and (b) will be permitted to testify for any purpose, except
                       impeachment, if the opposing party objects. Any objection to the use of a
                       deposition under Fed. R. Civ. P. 32(a) not reflected in the Pretrial Order
                       shall be deemed waived, except for good cause shown.

         5.    Depositions and Other Discovery Documents:




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                         All depositions, answers to written interrogatories, and requests for admissions, or
                         portions thereof, that are expected to be offered in evidence by the plaintiff and the
                         defendant are:

                         (Designate portions of depositions by page and line number. Designate answers to
                         interrogatories and requests for admissions by answer or request number.
                         Designation need not be made of portions that may be used, if at all, as
                         impeachment of an adverse party. Indicate any objections to proposed deposition
                         testimony, answers to interrogatories, and admissions.)

                 6.      Length of Trial: Counsel estimate the trial will last approximately _____ full days,
                         allocated as follows: _____ days for plaintiff’s case; _____ days for defendant’s
                         case; _____ days for other parties.

                 7.      Prospects of Settlement: The status of settlement negotiations is:

                         (Indicate progress toward settlement and issues that are obstacles to settlement.)

         The proposed Final Pretrial Order will be signed by all counsel, signifying acceptance, and upon
approval by the Court, with such additions as are necessary, will be signed by the Court as an order reflecting
the final pretrial conference.

7.      MATTERS TO BE CONSIDERED AT THE FINAL PRETRIAL CONFERENCE: At the final
        pretrial conference, the parties and the Court will formulate a plan for trial, including a program for
        facilitating the admission of evidence, consider the prospects of settlement, and consider such other
        matters as may aid in the trial or other disposition of the action. Unless excused upon a showing of
        good cause, the attorney who is to conduct the trial shall attend the pretrial conference and shall be
        accompanied by a representative of the party with full settlement authority.

8.      PREPARATION FOR TRIAL:

        a.       Each party shall file the following not later than two (2) business days following the final
                 pretrial conference:

                 i.      Proposed voir dire questions. The Court will ask basic voir dire questions. Counsel
                         for the parties will be permitted to question prospective jurors. Questioning by
                         counsel shall not be repetitive of questions asked by the Court or of questions asked
                         in the juror questionnaire.

                 ii.     Trial briefs.

        b.       The parties shall jointly file the following not later than two (2) business days following
                 the final pretrial conference:

                 i.      Proposed jury instructions. This Court uses Western District of Michigan's
                         Standardized Jury Instructions for the preliminary and final instructions. A copy



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                         of these instructions is available on the Court's website (www.miwd.uscourts.gov).3
                         The court generally uses O'Malley, Grenig & Lee's Federal Jury Practice and
                         Instructions for those not covered in the standard set. All instructions, including
                         those to which there is an objection, shall be filed as one document. Each
                         instruction shall be submitted in full text, one instruction per page, and in the order
                         to be read to the jury. Indicate those instructions with outstanding objections. No
                         instruction submitted shall contain highlighting or blanks. If the language of a
                         standardized instruction is modified, or an additional (non-standard) instruction
                         submitted, the source of the additional language or instruction must be indicated.
                         Objections to opposing counsel's proposed instructions, will be specified with a
                         summary of the reasons for each objection including a citation to relevant legal
                         authority.

         The parties are required to submit a copy of the joint statement of case and statement of the elements,
joint proposed jury instructions, and joint proposed verdict form(s) in WordPerfect or Word format to Judge
Maloney's Judicial Assistant, Christina Cavazos at Christina_Cavazos@miwd.uscourts.gov and Case
Manager, Amy Redmond at Amy_Redmond@miwd.uscourts.gov.

                 Ii.     A joint statement of the case and statement of the elements that must be proven by
                         each party. If the parties are unable to agree on the language of a joint statement of
                         the case, then separate, concise, non-argumentative statements shall be filed. The
                         statement(s) of the case will be read to the prospective jurors during jury selection.
                         The elements that must be proven by each party will be included in the preliminary
                         jury instructions.




Dated: December 7, 2017                              /s/ Paul L. Maloney
                                                   Paul L. Maloney
                                                   United States District Judge




        3
         The instructions can be located through the Attorney Information link or through the
Electronic Filing section. If accessing through the Electronic Filing section, you will need to use
your E-Filing Login and Password. Once you have logged into the electronic filing section of the
website, click Utilities, then select WDMI Attorney References and you will see the link to the
Standard Civil Jury Instructions.

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